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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA



United States of America,

             Plaintiff,
v.                                                    ORDER
                                                      Criminal No. 95-24 (MJD)

Alexander Faulkner,

             Defendant.

______________________________________________________________________

      This matter is before the Court upon Defendant’s motion to vacate a void

judgment pursuant to Fed. R. Civ. P. 60(b). It is Defendant’s position that his

judgment of conviction is void because this Court lacked subject matter

jurisdiction because the indictment was not based on valid law. Specifically,

Defendant argues that the statutes upon which his conviction is based do not have

enactment clauses.

      A similar argument was rejected by this Court in United States v.

Ramanauskas, 2005 WL 189708 *2 and n.1 (D. Minn. 2005)(finding the U.S.

Constitution does not require that codification of statutes include enacting

clauses).

      Nonetheless, the Court finds that this argument is one that could have been

raised in his first § 2255 petition, which was filed in January 1998, and denied by
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Order dated October 19, 1998. The instant motion will thus be treated as a

successive § 2255 motion for which the Defendant has not obtained the proper

authorization from the Eighth Circuit Court of Appeals. Accordingly, this Court

lacks jurisdiction to consider Defendant’s motion. Boyd v. United States, 304 F.3d

813, 814 (8 th Cir. 2004)(If Rule 60(b) motion is actually a successive habeas

petition, the court should dismiss the motion for failure to obtain authorization of

the court of appeals).

      IT IS HEREBY ORDERED THAT Defendant’s Motion to Void Judgment

[Docket No. 675] is DENIED.

Date: December 21, 2005



                                         s/ Michael J. Davis
                                         Michael J. Davis
                                         United States District Court
